Case 15-24705-EPK Doc 22 Filed 08/26/15 Pagelof3

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According to the calculations required by

Debtor 1 NORMAN ALBERT SCOTT this Statement:
First Name Middle Name Last Name
Debtor 2 CJ 1. Disposable income is not determined
(Spouse, if filing) First Name Middle Name Last Name under 11 U.S.C. § 1325(b)(3).
United States Bankruptcy Court for the: thern District of Flori [[] 2. Disposable income is determined
_e ey Southern District of Florida under 11 U.S.C. § 1325(b)(3).

Case number 15-24705-EPK

(If known}

C] 3. The commitment period is 3 years.
iv] 4. The commitment period is 5 years.

(] Check if this is an amended filing

Official Form B 22C1
Chapter 13 Statement of Your Current Monthly Income

and Calculation of Commitment Period 12/14

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for being accurate. If
more space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the
top of any additional pages, write your name and case number (if known).

a Calculate Your Average Monthly Income

1. What is your marital and filing status? Check one only.
Not married. Fill out Column A, lines 2-11.

Married. Fill out both Columns A and B, lines 2-11.

Fill in the average monthly income that you received from all sources, derived during the 6 full months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For example, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for all 6 months and divide the total by 6. Fill in
the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the income
from that property in one column only. If you have nothing to report for any line, write $0 in the space.
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
2. Your gross wages, salary, tips, bonuses, overtime, and commissions (before all 8,644.00 0.00
payroll deductions). $ , : $n
3. Alimony and maintenance payments. Do not include payments from a spouse if 0.00 0.00
Column B is filled in. $ $n
4. All amounts from any source which are regularly paid for household expenses of
you or your dependents, including child support. Include regular contributions from
an unmarried partner, members of your household, your dependents, parents, and
roommates. Include regular contributions from a spouse only if Coiumn B is not filled 0.00 0.00
in. Do not include payments you fisted on line 3. $ $
5. Net income from operating a business, profession, or farm
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses -$ 0.00
Cc . a
Net monthly income from a business, profession, or farm $ 0.00 o> g____—*9.00 s__ 9.00 ”)
6. Net income from rental and other real property
Gross receipts (before all deductions) $ 0.00
Ordinary and necessary operating expenses -—$ 0.00
0.00 | copy
Net monthly income from rental or other real property $ here> $ 0.00 g 1,100.00 |

Official Form B 22C1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 1

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Debtor 1 NORMAN ALBERT SCOTT Case number (itknow_15-24705-EPK
First Name Middie Name Last Name
Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse
7. Interest, dividends, and royalties $ 0.00 $ 0.00
8. Unemployment compensation 3 0.00 3 0.00

Do not enter the amount if you contend that the amount received was a benefit under

FOP YOU ...ccscccsecsssesssuseseseseseesssesesesceeerssseeaeaeeeseenenetetaeass $ 0.00
FOP YOUP SPOUSE 02.0... eee cceesceensereceseseseneseeenseseatataeenseeees $ 0.00

9. Pension or retirement income. Do not include any amount received that was a 0.00

benefit under the Social Security Act. 3 $ 0.00

10. Income from ail other sources not listed above. Specify the source and amount.
Do not include any benefits received under the Social Security Act or payments
received as a victim of a war crime, a crime against humanity, or international or
domestic terrorism. If necessary, list other sources on a separate page and put the
total on line 10c.

0.00
108, s___-— s__0.00
10b. s_____—-0.00. g___ 9.00

10c. Total amounts from separate pages, if any. +5 0.00 +5 0.00

11. Calculate your total average monthly income. Add lines 2 through 10 for each
column. Then add the total for Column A to the total for Column B. $ 8,644.00 + $ 1,100.00

5 9:744.0

Total average
monthly income

Ea Determine How to Measure Your Deductions from Income

12. Copy your total average monthly income from lime 11. cee ce es ceeeseeseeseenessaseescesesseseesesussseseasssneseescesesseeceasasessensesusecsnses

$9,744.00
13. Calculate the marital adjustment. Check one:
L You are not married. Fill in 0 in line 13d.

lV] You are married and your spouse is filing with you. Fill in 0 in line 13d.
You are married and your spouse is not filing with you.

Fill in the amount of the income listed in line 11, Column B, that was NOT regularly paid for the household expenses of you
or your dependents, such as payment of the spouse’s tax liability or the spouse’s support of someone other than you or
your dependents.

In lines 13a-c, specify the basis for excluding this income and the amount of income devoted to each purpose. If
necessary, list additional adjustments on a separate page.

If this adjustment does not apply, enter 0 on line 13d.

13a. $

13b. $
136. +$

13d. Total cece ccc ccscecsssscensvecevecevsssesevesscavscaseusssssavevecavsenevssevasavevacaveseeaevavecaas $ 0.00 Copy here. 13d. — 0.00

14. Your current monthly income. Subtract line 13d from line 12. 14, $ 9,744.00

15. Calculate your current monthly income for the year. Follow these steps:

15a. Copy line 14 here SD... cecccsccesssessessssssecsscssssssecsseesssssecsnecsssessssnsesseassssssssnsssnsssssssssuseressuassusssassusssssrsssesvecsesurssseessessseres 15a. $_9,744.00_

Multiply line 15a by 12 (the number of months in a year). x 12

15b. The result is your current monthly income for the year for this part of the form. 15. $ 116,928.0(

Official Form B 22C1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 2

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Debtor 1 NORMAN ALBERT SCOTT Case number (i known) 15-24705-EPK

First Name Middle Name Last Name

a

16. Calculate the median family income that applies to you. Follow these steps:

16a. Fill in the state in which you live. FL
16b. Fill in the number of people in your household. 6
16c. Fill in the median family income for your state and size Of MOUSEHOI. «2.2... cece eee eeeeeeeceneceeeeeeceeteneeeenserseeeaernereaneate 16¢. $ 45,005.00

To find a list of applicable median income amounts, go online using the link specified in the separate
instructions for this form. This list may also be available at the bankruptcy clerk’s office.

17. How do the lines compare?

17a. CJ Line 15b is less than or equal to line 16c. On the top of page 1 of this form, check box 1, Disposable income is not determined under 11 U.S.C.
§ 1325(b)(3). Go to Part 3. Do NOT fill out Ca/culation of Disposable Income (Official Form 22C-2).

; 17b. Line 15b is more than line 16c. On the top of page 1 of this form, check box 2, Disposable income is determined under 11 U.S.C.
§ 1325(b)(3). Go to Part 3 and fill out Calculation of Disposable Income (Official Form 22C—2). On line 39 of that form, copy
your current monthly income from line 14 above.

a Calculate Your Commitment Period Under 11 U.S.C. §1325(b)(4)

18. Copy your total average monthly income from line 14. ooo. creer ceieter sees rer seeniensieetsetd seen saiemaasisaneeteesenpeteent 18. $ 9,744.00

19. Deduct the marital adjustment if it applies. If you are married, your spouse is not filing with you, and you contend
that calculating the commitment period under 11 U.S.C. § 1325(b)(4) allows you to deduct part of your spouse’s

income, copy the amount from line 13d. 0.00
If the marital adjustment does not apply, fill in 0 on line 19a. 19a. —~ $ :
Subtract line 19a from line 18. 19b $ 9,744.00
20. Calculate your current monthly income for the year. Follow these steps:

20a. Copy line 19b.. 0.0... heeeceeenaecateeeceesscecsaecsanecnsseauseceessteenatsnceeecsaesscessseetuesaucessseessceacesaeeseeeesacesssesteeusaeeseeeeeeseetieettsessaes 20a.

a. Copy a $9,744.00

Multiply by 12 (the number of months in a year). x 12
20b. The resuit is your current monthly income for the year for this part of the form. 20b. $ 116,928.06
20¢. Copy the median family income for your state and size of household from line 16. 0.0.00... ccc csscsseesesesecseseeceeessesenees 45,005.00
$_ :

21. How do the lines compare?

C] Line 20b is less than line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form, check box 3, The commitment period is
3 years. Go to Part 4.

Line 20b is more than or equal to line 20c. Unless otherwise ordered by the court, on the top of page 1 of this form,
check box 4, The commitment period is 5 years. Go to Part 4.

By signing here, under

x JV} x
Signature of Debtor 1 } , Signature of Debtor 2
Date 08/25/201 Date

MM/DD / MM/DD_ /YYYY

If you checked 17a, do NOT fill out or file Form 22C-2.

If you checked 17b, fill out Form 22C—2 and file it with this form. On line 39 of that form, copy your current monthly income from line 14 above.

Official Form B 22C1 Chapter 13 Statement of Your Current Monthly Income and Calculation of Commitment Period page 3

